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1    Todd M. Friedman (SBN 216752)
2    Adrian R. Bacon (SBN 280332)
     LAW OFFICES OF TODD M. FRIEDMAN, P.C.
3
     21550 Oxnard St. Suite 780,
4    Woodland Hills, CA 91367
5
     Phone: 877-206-4741
     Fax: 866-633-0228
6    tfriedman@toddflaw.com
7     abacon@ toddflaw.com
     Attorneys for Plaintiff
8

9
                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
10

11    NANCY SPRINGER, individually and                     ) Case No.
      on behalf of all others similarly situated,          )
12
                                                           )
13    Plaintiff,                                           )
                                                              2:19-cv-01099-AB-FFM
14
                                                           )
      vs.                                                  )
15                                                           NOTICE OF SETTLEMENT
                                                           )
                                                             AS TO INDIVIDUAL CLAIMS
16    APRIA HEALTHCARE GROUP,                              )
                                                             ONLY
      INC., and DOES 1-20, inclusive,                      )
17
                                                           )
18    Defendant(s).                                        )
19
                                                           )

20          NOW COMES THE PLAINTIFF by and through their attorney to
21   respectfully notify this Honorable Court that this case has settled individually.
22   Plaintiff request that this Honorable Court vacate all pending hearing dates and
23   allow sixty (60) days with which to file dispositive documentation. Dispositional
24
     documents will be forthcoming. This Court shall retain jurisdiction over this
25
     matter until fully resolved.
26
     Dated: May 7, 2019                Law Offices of Todd M. Friedman, P.C.
27

28                                                              By: s/ Adrian R. Bacon
                                                                      Adrian R. Bacon


                                         Notice of Settlement
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1
                             CERTIFICATE OF SERVICE
2

3    Filed electronically on May 7, 2019, with:
4
     United States District Court CM/ECF system
5

6
     Notification sent electronically on May 7, 2019, to:

7    To the Honorable Court, all parties and their Counsel of Record
8

9
     s/Adrian R. Bacon
10    Adrian R. Bacon
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                                       Notice of Settlement
